                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              Chapter 11
In re:
                                                              Case No. 18-11801 (LSS)
J & M Sales, Inc., et al.,                                    (Jointly Administered)

                                        Debtors.1             Hearing Date: Only if Objections are Filed
                                                              Objection Deadline: October 30, 2018 at 4:00 p.m.




COVER SHEET TO THE FIRST MONTHLY APPLICATION OF COOLEY LLP, LEAD
COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF J &
   M SALES, INC., ET AL. FOR COMPENSATION AND REIMBURSEMENT OF
              EXPENSES FOR THE PERIOD AUGUST 16, 2018
                         THROUGH AUGUST 31, 2018


Name of Applicant:                                            Cooley LLP

Authorized to Provide                                         The Official Committee of Unsecured
Professional Services to:                                     Creditors of J & M Sales, Inc., et al.

Date of Retention:                                            October 3, 2018, nunc pro tunc to
                                                              August 16, 2018

Period for which compensation
and reimbursement is sought:                                  August 16, 2018 through August 31, 2018

Total Compensation sought
as actual, reasonable and necessary:                          $220,548.50

80% of Compensation sought
as actual, reasonable and necessary:                          $176,438.80

Amount of Expense Reimbursement sought
as actual, reasonable and necessary:                          $731.062


1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores, Inc.
(6795); Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island Stores, LLC
(9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management LLC (1924). Debtors’
mailing address is 15001 South Figueroa Street, Gardena, CA 90248.
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    This amount includes $572.50 in requests for reimbursement of expenses for individual Committee members.


                                                         1
Total Compensation approved by interim
order to date:                                       $0.00

Total Expenses approved by interim
order to date:                                       $0.00

Total Allowed compensation paid to date:             $0.00

Total Allowed expenses paid to date:                 $0.00

Blended Rate in this application for
all timekeepers:                                     $804.63

Blended Rate in this application for
all attorneys:                                       $816.30

This is Cooley LLP’s first monthly fee application in these cases.




                                                2
        PRIOR MONTHLY FEE APPLICATIONS

None.




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    COMPENSATION BY TIMEKEEPER DURING THE COMPENSATION PERIOD

       Name of                 Position of the Applicant,           Hourly        Total            Total
     Professional            Year of Obtaining License to           Billing       Billed        Compensation
        Person                Practice, Area of Expertise           Rate1         Hours
Jay R. Indyke                Partner: Member of New York             $900          51.6               $46,440.00
                             Bar since 1982; Area of
                             Expertise: Bankruptcy
Jonathan Bach                Partner; Member of New York             $900           2.6                $2,340.00
                             Bar since 1992; Area of
                             Expertise: Business Litigation
Seth Van Aalten              Partner; Member of New                  $900           3.3                $2,970.00
                             York Bar since 2004; Area of
                             Expertise: Bankruptcy
Michael Aaron Klein          Special Counsel; Member of              $900          61.5               $55,350.00
                             New York Bar since 2005;
                             Area of Expertise:
                             Bankruptcy
Max Schlan                   Associate; Member of New                $865          71.7               $62,020.50
                             York Bar since 2013; Area of
                             Expertise: Bankruptcy
Sarah A. Carnes              Associate; Member of New                $710          44.2               $31,382.00
                             York Bar since 2015; Area of
                             Expertise: Bankruptcy
Joseph Brown                 Associate; Member of New                $555          33.5               $18,592.50
                             York Bar since 2017; Area of
                             Expertise: Bankruptcy
Mollie Canby                 Paralegal                               $255          5.2                $1,326.00
Philip J. Anton              Lit/E-Discovery Svcs.                   $255          0.5                  $127.50
TOTAL                                                                             274.1             $220,548.50
Blended Hourly Rate for All Timekeepers                                                                 $804.63
Blended Rate for Attorneys                                                                              $816.30




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  With respect to any Cooley professional with a customary hourly rate in excess of $900 per hour, Cooley agreed to
reduce such rate to $900 per hour. Services by attorneys, paraprofessionals, and other staff whose customary hourly
rate is below $900 per hour will be charged according to Cooley’s customary hourly rates in effect when services are
performed.


                                                         4
                   TIME BILLED BY PROJECT CATEGORY

               Subject Matter Categories                 Hours    Fees
                                                         Spent
B01   Asset Analysis and Recovery                         3.3      $2,931.50
B02   Asset Disposition                                   8.7      $7,809.00
B03   Business Operations                                 7.0      $6,192.50
B04   Case Administration                                41.5     $33,886.50
B05   Claims                                             46.5     $39,481.50
B06   Employee Benefits and Pensions                      0.1        $90.00
B07   Fee/Employment Applications                        21.6     $15,256.00
B09   Financing and Cash Collateral                      46.0     $37,030.00
B10   Litigation                                         31.5     $21,788.50
B11   Meetings                                           56.4     $46,210.00
B12   Plan and Disclosure Statement                       3.7      $3,330.00
B14   Travel                                              2.3      $2,031.50
B18   Leases and Executory Contracts                      3.3      $2,531.50
B19   Preparation for and Attendance at Court Hearings    2.2      $1,980.00
      TOTAL                                              274.1   $220,548.50




                                           5
                                  EXPENSE SUMMARY

                            Expense Category                     Amount

                  CourtCall                                        $128.00
                  Reproduction of Documents                          $3.80
                  Taxi                                              $26.76
                  TOTAL                                            $158.56


                  Committee Expense Reimbursement                  $572.50
                  GRAND TOTAL                                      $731.06


                              TRAVEL EXPENSE DETAIL

Dept. Date   Total       Description                                         Traveler
8/21/18      $26.76      Taxi from office to home working late               J. Brown
TOTAL        $26.76




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                            FOR THE DISTRICT OF DELAWARE

                                                              Chapter 11
In re:
                                                              Case No. 18-11801 (LSS)
J & M Sales, Inc., et al.,                                    (Jointly Administered)

                                       Debtors.1              Hearing Date: Only if Objections are Filed
                                                              Objection Deadline: October 30, 2018 at 4:00 p.m.


 FIRST MONTHLY APPLICATION OF COOLEY LLP, LEAD COUNSEL TO THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF J & M SALES, INC., ET
 AL., FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
           PERIOD AUGUST 16, 2018 THROUGH AUGUST 31, 2018

TO THE HONORABLE LAURIE SELBER SILVERSTEIN
UNITED STATES BANKRUPTCY JUDGE:

                 Cooley LLP (“Cooley” or “Applicant”), lead counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of the above-captioned debtors (the “Debtors”),

respectfully represents:

                                              INTRODUCTION

                 This is Applicant’s first monthly application (the “Application”) for allowance of

compensation and reimbursement of expenses pursuant to § 331 of chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”), the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), the Guidelines for Reviewing




1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: J & M Sales Inc. (4697); National Stores, Inc. (4874); J&M Sales of Texas, LLC (5979); FP Stores, Inc.
(6795); Southern Island Stores, LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island Stores, LLC
(9301); Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management LLC (1924). Debtors’
mailing address is 15001 South Figueroa Street, Gardena, CA 90248.
Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”), and the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals (the

“Interim Compensation Order”) [D.I. 278].

               This Application seeks interim allowance of compensation for legal services

rendered by Applicant for the period August 16, 2018 through August 31, 2018 (the

“Compensation Period”) in the total amount of $220,548.50, reimbursement of certain expenses

incurred by (or first billed by outside vendors to) Applicant in the amount of $158.56, and

reimbursement of expenses incurred by individual Committee members in the amount of $572.50.

               Pursuant to the Interim Compensation Order, if no objections are timely filed to

this Application, the Debtors are authorized to pay Applicant 80% of the requested fees and 100%

of requested expenses in the aggregate amount of $177,169.86. This Application complies with

the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the U.S. Trustee Guidelines, and the

Interim Compensation Order.

                             GENERAL CASE BACKGROUND

       4.      On August 6, 2018 (the “Petition Date”), each of the Debtors filed a voluntary

petition with the United States Bankruptcy Court for the District of Delaware (the “Court”) for

relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and

managing their properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No trustee, examiner, or statutory committee has been appointed in these cases

by the Office of the United States Trustee for the District of Delaware (the “U.S. Trustee”).




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       5.      On August 16, 2018, the U.S. Trustee appointed the Committee, consisting of the

following seven members: (i) Regency Centers, LP; (ii) Armouth Intl., Inc.; (iii) One Step Up,

Ltd.; (iv) Mulitex, Ltd.; (v) Idea Nuova; (vi) Royal Deluxe Accessories; and (vii) Jasmine McGerr.

       6.      That same day, the Committee selected (i) Cooley as its lead counsel, (ii) Fox

Rothschild LLP as its Delaware counsel and (iii) Province, Inc. (“Province”) as its financial

advisor.

       7.      On October 3, 2018, the Court entered an order authorizing the Committee to retain

Cooley as its lead counsel [D.I. 537].

                     JURISDICTION AND STATUTORY PREDICATES

               This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409. Pursuant to Local Rule 9013-1(f), Cooley consents

to the entry of a final judgment or order with respect to this Application if it is determined that the

Court would lack Article III jurisdiction to enter such final order or judgment absent consent of

the parties. The statutory predicates for the relief requested herein are §§ 105(a), 330 and 331 of

the Bankruptcy Code, and Bankruptcy Rule 2016.

            SERVICES RENDERED DURING THE COMPENSATION PERIOD

               During the Compensation Period, Applicant’s services to the Committee included

professional advice and representation in connection with discrete categories in the chapter 11

proceedings. The aggregate hours and amount billed for each category are set forth on the cover

page to this Application.

               To apprise this Court of the legal services provided during the Compensation

Period, Applicant sets forth the following summary of legal services rendered. The summary is


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intended only to highlight the general categories of services performed by Applicant on behalf of

the Committee; it is not intended to set forth each and every item of professional services which

Applicant performed.

Asset Analysis and Recovery

               This category includes time expended by Applicant conducting diligence on the

Debtors’ assets. During the Compensation Period, Applicant spent time, among other things,

reviewing and commenting on a preliminary and revised liquidation analysis prepared by Province,

and communicating with Province and other interested parties regarding the foregoing.

               Applicant expended 3.3 hours of time for a charge of $2,931.50 for services

rendered with respect to matters relating to asset analysis and recovery.

Asset Disposition

               This category includes time expended by Applicant with respect to the disposition

of the Debtors’ assets. During the Compensation Period, Applicant (i) analyzed the store closing

sales motion and related agency agreement, (ii) reviewed various objections to the store closing

motion, and (iii) communicated with the Committee, the Debtors, other professionals and

interested parties regarding the foregoing.

               Applicant expended 8.7 hours of time for a charge of $7,809.00 for services

rendered with respect to matters relating to asset disposition.

Business Operations

               This category includes time spent by Applicant with respect to the Debtors’

business operations. During the Compensation Period, Applicant (i) analyzed the corporate and

financial materials prepared by Province, (ii) reviewed the Debtors’ monthly operating report, (iii)

attended to the Debtors’ sale and going out of business process and developed a strategy regarding


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same, and (iv) conferred with the Committee, Province, and other estate professionals regarding

the Debtors’ finances, business practices, capital structure.

               Applicant expended 7.0 hours of time for a charge of $6,192.50 for services

rendered with respect to matters relating to business operations.

Case Administration

               This category includes time expended by Applicant on a variety of activities

relating to the day-to-day management of these chapter 11 cases. Services rendered in this project

category include (i) regularly conferring with the Committee, the Debtors, and other parties in

interest regarding the status of the cases, (ii) drafting bylaws and other organizational documents

for the Committee and conferring with members regarding same, (iii) reviewing and managing the

critical dates calendar, (v) reviewing routine first day pleadings and the orders granting same, (vi)

responding to creditor inquiries, (vii) scheduling meetings with certain vendors, and (viii)

attending to miscellaneous tasks that do not properly fall into any other project category.

               Applicant expended 41.5 hours of time for a charge of $33,886.50 for services

rendered in connection with case administration.

Claims

               This category includes time expended by Applicant with respect to potential claims

against the Debtors’ estates. During the Compensation Period, Applicant spent time (i) reviewing

and analyzing the critical vendor motion, (ii) researching issues regarding the proposed critical

vendor program and drafting an objection to same, (iv) reviewing various reclamation claims filed

by certain creditors and the Court-approved reclamation procedures, and (v) communicating with

the Committee, Province, the Debtors, other interested parties regarding the foregoing.




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               Applicant expended 46.5 hours of time for a charge of $39,481.50 for services

rendered in connection with claims.

Fee/Employment Applications

               This category includes time expended by Applicant regarding the retention of

various professionals in the Debtors’ bankruptcy proceedings. Applicant spent time during the

Compensation Period, among other things, (i) reviewing and analyzing the terms of retention of

the Debtors’ professionals, (ii) drafting its retention application and (iii) communicating with the

Committee and other parties in interest regarding the foregoing.

               Applicant expended 21.6 hours of time for a charge of $15,256.00 for services

rendered with respect to matters relating to retention applications.

Financing and Cash Collateral

               This category includes time expended by Applicant with respect to the debtor-in-

possession financing facility (the “DIP”).      During the Compensation Period, Applicant (i)

reviewed and analyzed the Debtors’ DIP financing motion, the proposed DIP order, the DIP Credit

Agreement, and the DIP budget, (ii) drafted an objection to the DIP financing motion, (iii)

reviewed objections to the DIP financing motion filed by various parties in interest, (iv) conferred

with the Debtors, the Committee, other estate professionals and the Debtors’ lenders concerning

issues with the proposed DIP financing and the budget.

               Applicant expended 46 hours of time for a charge of $37,030.00 for services

rendered with respect to financing and cash collateral.

Litigation

               This category includes time expended by Applicant related to litigation matters.

During the Compensation Period, Applicant spent time initiating its investigation of potential


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claims and causes of action against the Debtors’ insiders and lenders. In connection with the

investigation, Applicant spent time (i) drafting initial discovery requests to the Debtors and their

lenders, (ii) conferring with the Debtors, their lenders, and other interested parties concerning the

scope of the investigation and the discovery process, (iii) communicating with the Committee

regarding the foregoing.

               Applicant expended 31.5 hours of time for a charge of $21,788.50 with respect to

litigation.

Meetings

               This category includes time expended by Applicant preparing for and attending

meetings with the Debtors, the Committee, their respective professionals, and other parties in

connection with, inter alia, general case strategy, the DIP financing and budget, the Debtors’

business plan, the Debtors’ going out of business sales, the Committee’s investigation of potential

estate claims, and the proposed critical vendors program.

               Applicant expended 56.4 hours of time for a charge of $46,210.00 with respect to

preparation for and attendance at meetings.

Plan and Disclosure Statement

               This category includes time expended by Applicant in connection with the Debtors’

proposed plan and disclosure statement. During the Compensation Period, Applicant spent time

conferring with the Debtors and other parties in interest regarding a potential plan of reorganization

and other strategic alternatives to a liquidation.

               Applicant expended 3.7 hours of time for a charge of $3,330.00 with respect to

the Debtors’ plan and disclosure statement.




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Travel

               This category is for outbound travel time expended by Applicant in connection with

the formation meeting held on August 16, 2018 in Wilmington, Delaware. Non-working travel is

billed at one-half time.

               Applicant billed 2.3 hours of non-working travel time, for a charge of $2,031.50.

Leases and Executory Contracts

               This category includes time expended by Applicant with respect to the Debtors’

executory contracts and unexpired leases. During the Compensation period, Applicant spent time

(i) reviewing lease rejection procedures motion, (ii) responding to landlord inquiries and attending

to issues regarding the payment of stub rent, and (iii) communicating with the Committee, the

Debtors and other interested parties regarding the foregoing.

               Applicant expended 3.3 hours of time for a charge of $2,531.50 for services

rendered with respect to the Debtors’ executory contracts and unexpired leases.

MATTERS PERTAINING TO APPLICANT DURING THE COMPENSATION PERIOD

               Applicant has maintained contemporaneous time records which indicate the time

that each attorney has spent working on a particular matter and the nature of the work performed.

Copies of these time records are annexed to this Application as Exhibit A. The total number of

hours expended by Applicant’s attorneys and para-professionals during the Compensation Period

in conjunction with these cases is 274.1. All of the services have been rendered by those

individuals at Applicant’s firm.

               The personnel who have expended extensive time on this matter during the

Compensation Period are as follows: (a) Jay Indyke has been actively involved in all aspects of




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these cases; and (b) Michael Klein, Max Schlan, Sarah Carnes, and Joseph Brown were responsible

for the various day-to-day issues that arose during the Compensation Period.

               Applicant has extensive experience representing creditors’ committees in the retail

industry having represented official committees in cases such as American Apparel, Aerogroup

International, Avenue Stores, Atari, Big M, Blockbuster, Bob’s Stores, Brookstone, Charming

Charlie, City Sports, Claire’s, Eastern Outfitters, Eddie Bauer, Edwin Watts, Federated

Department Stores, Filene’s Basement, Fresh Produce, Fuhu, Golfsmith, Goody’s Family

Clothing, Gottschalk’s, Hancock Fabrics, hhgregg, Hipcricket, Joyce Leslie, KB Toys, KIT

Digital, Levitz Furniture, Mervyn’s, Montgomery Ward, Orchard Brands, Pacific Sunwear of

California, Pizzeria Uno, Pacific Sunwear, Princeton Ski Shops, Radioshack, Ritz Camera, rue21,

Sbarro’s, Steve & Barry’s, Sharper Image, SkyMall, The Athlete’s Foot, The Wet Seal, The

Walking Company, Today’s Man, True Religion, Vestis, and Videology, among many others.

               Applicant rendered all the professional services for which compensation is

requested herein in connection with the Debtors’ chapter 11 cases in furtherance of Applicant’s

professional responsibilities as attorneys for the Committee.

               During the Compensation Period, the partners, associates and para-professionals of

Applicant devoted substantial time, 274.1 hours, in rendering professional services to the

Committee, all of which time was reasonable and necessary.

               Applicant, by experience, training and ability, is fully qualified to perform the

services for which compensation is sought here. Applicant represents or holds no interest adverse

to the Committee with respect to the matters upon which it is engaged.




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               No agreement or understanding exists between Applicant and any other entity for

the sharing of compensation to be received for services rendered in or in connection with these

chapter 11 cases.

           EXPENSES INCURRED DURING THE COMPENSATION PERIOD

               Annexed as part of the cover sheet is a list of the necessary and actual disbursements

incurred during the Compensation Period in connection with the above-described work. The list

is derived from the information found in Exhibit A. These records indicate that Applicant has

advanced during the Compensation Period the sum of $158.56 in necessary and actual out-of-

pocket expenses. Requests by Committee members for reimbursement of expenses incurred in

connection with Committee business is attached as Exhibit B. The aggregate amount of expenses

incurred by Committee members during the Monthly Period is $572.50. In connection with said

expenses, it should be noted that Applicant charges 25¢ per page for outgoing facsimiles with no

charge for incoming facsimiles, 10¢ per page for photocopying and charges for meals only

necessitated by meetings with the Debtors, the Committee, or when Applicant’s personnel would

work on these cases through a normal meal period. Certain meals that may not have fit squarely

in those categories were written off.

                 NOTICE, PRIOR APPLICATION AND CERTIFICATION

               Notice of this Application has been provided in accordance with the Interim

Compensation Order. Applicant submits that the foregoing constitutes good and sufficient notice

and that no other or further notice need be provided.

               No previous application for the relief sought herein has been made to this or any

other court.




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                Applicant has reviewed the requirements of the Local Rules, including Local Rule

2016-1, and this Application complies with those rules.

         WHEREFORE, Applicant hereby respectfully requests interim payment of (i) fees in the

amount of $176,438.80 which is equal to the sum of 80% of Applicant’s allowed compensation,

for duly authorized, necessary and valuable professional services to the Committee incurred during

the Compensation Period, (ii) reimbursement to Applicant for actual and necessary expenses

incurred during the Compensation Period in connection with the aforesaid services in the aggregate

amount of $158.56, and (iii) reimbursement of expenses incurred by Committee members in the

aggregate amount of $572.50.

Dated:    October 9, 2018
                                                    COOLEY LLP

                                                    /s/ Jay R. Indyke
                                                    Jay R. Indyke
                                                    Sarah Carnes
                                                    Joseph Brown
                                                    1114 Avenue of the Americas
                                                    New York, New York 10036
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                                                    Lead Counsel for the Official
                                                    Committee of Unsecured Creditors




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